              United States Court of Appeals
                              For the First Circuit
                                 _____________________


No. 25-1477

 STATE OF RHODE ISLAND; STATE OF NEW YORK; STATE OF HAWAII; STATE OF
    CALIFORNIA; STATE OF COLORADO; STATE OF CONNECTICUT; STATE OF
   DELAWARE; STATE OF ILLINOIS; STATE OF MAINE; STATE OF MARYLAND;
 COMMONWEALTH OF MASSACHUSETTS; PEOPLE OF THE STATE OF MICHIGAN;
 STATE OF MINNESOTA; STATE OF NEVADA; STATE OF NEW JERSEY; STATE OF
NEW MEXICO; STATE OF OREGON; STATE OF VERMONT; STATE OF WASHINGTON;
                 STATE OF WISCONSIN; STATE OF ARIZONA,

                                    Plaintiffs - Appellees,

                                              v.

 DONALD J. TRUMP, in their official capacity as President of the United States; INSTITUTE
  FOR MUSEUM AND LIBRARY SERVICES; KEITH E. SONDERLING, in their official
   capacity as Acting Director of the Institute of Museum and Library Services; MINORITY
  BUSINESS DEVELOPMENT AGENCY; MADIHA D. LATIF, in their official capacity as
    Deputy Under Secretary of Commerce for Minority Business Development; FEDERAL
 MEDIATION AND CONCILIATION SERVICE; GREGORY GOLDSTEIN, in their official
  capacity as Acting Director of the Federal Mediation and Conciliation Service; HOWARD
    LUTNICK, in their official capacity as Secretary of Commerce; RUSSELL THURLOW
 VOUGHT, in their official capacity as Director of the Office of Management and Budget; US
                       OFFICE OF MANAGEMENT AND BUDGET,

                                  Defendants - Appellants.
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                                           Before

                                    Barron, Chief Judge,
                           Kayatta, and Rikelman, Circuit Judges.
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                                   ORDER OF COURT

                                   Entered: May 27, 2025

      Defendants-Appellants have filed in this court a "Motion for Stay Pending Appeal and an
Administrative Stay." Consistent with Federal Rule of Appellate Procedure 8(a), defendants-
appellants also have filed a motion for stay pending appeal in the district court. That motion
remains pending, and the district court has directed plaintiffs-appellees to respond by May 27,
2025, and for defendants-appellants to file any reply by May 30, 2025. Plaintiffs-Appellees have
filed a letter in this court opposing the request for an immediate "administrative" stay.

        The current request for an "administrative" stay is denied. See generally Fed. R. App. P.
8(a). In the event the district court denies the stay motion pending before it, plaintiffs-appellees
should file a full response to the stay motion in this court within two days of the district court's
ruling, and any reply by defendants-appellants will be due within two days of service of the
response.


                                                     By the Court:

                                                     Anastasia Dubrovsky, Clerk


cc:
Lauren S. Zurier
Robert A. Koch
Gerard J. Sinzdak
Simon Gregory Jerome
Abigail Stout
Heidy L. Gonzalez
Julia Heiman
Kathryn M. Sabatini
Natalya A. Buckler
Katherine Connolly Sadeck
Keith D. Hoffmann
Paul Timothy James Meosky
Rabia Muqaddam
Ester Murdukhayeva
Kartik Naram
Abigail Katowitz-Liu
Sean Bunny
David Dana Day
Kalikoonalani Diara Fernandes
Jay C. Russell
Zelda Vassar
David Moskowitz
Michael Kenneth Skold
Ashley H. Meskill
Vanessa L. Kassab
Sarah A. Hunger
Holly F.B. Berlin
Vivian A. Mikhail
Keith Jamieson
Katherine B. Dirks
Neil Giovanatti
BreAnna J. Listermann
Jacob Harris
Heidi Parry Stern
Joshua Paul Bohn
Anjana Samant
Brian Simmonds Marshall
Ryan P. Kane
Kate S. Worthington
Sarah Elizabeth Smith-Levy
Colin T. Roth
Syreeta Tyrell
